[EDITORS' NOTE: THIS PAGE CONTAINS HEADNOTES. HEADNOTES ARE NOT AN OFFICIAL PRODUCT OF THE COURT, THEREFORE THEY ARE NOT DISPLAYED.] *Page 426 
We held in People v. Sumstine (1984) 36 Cal.3d 909 (Sumstine) that a criminal defendant, charged with having suffered a prior felony conviction, may move in the trial court to strike the alleged prior conviction on the ground the trial court in the prior proceeding failed to comply with the defendant's Boykin-Tahl rights. (Boykin v.Alabama (1969) 395 U.S. 238 *Page 427 
(Boykin); In re Tahl (1969) 1 Cal.3d 122 (Tahl).) Ten years after Sumstine, the United States Supreme Court held the federal Constitution does not authorize a criminal defendant to move in the trial court to strike an alleged prior state felony conviction unless he or she was denied the right to counsel in the prior proceeding. (Custis v. United States (1994) 511 U.S. 485
(Custis).) We granted review in this case to address a division in our Courts of Appeal regarding whether, as a result of Custis
and subsequent decisions, we should overrule Sumstine, supra. As we explain below, although we find Sumstine survives Custis, the motion to strike procedure is available to challenge only those prior felony convictions suffered after we decided Tahl. Because defendant's prior felony conviction occurred a few months before we decided Tahl, we conclude the trial court correctly, albeit for the wrong reason, ruled defendant could not challenge his prior conviction.
 Facts
Defendant was charged with violating Health and Safety Code section 11352, subdivision (a) (sale of a controlled substance). In addition, the information alleged as sentencing enhancements that defendant had suffered a felony conviction for robbery in 1969 (Pen. Code, § 667, subds. (b)-(i)) and had twice previously served a prison term (id., § 667.5, subd. (b)). Trial of guilt and the enhancement allegations was bifurcated. A jury found defendant guilty of selling drugs; the trial court then found true the allegation defendant had suffered the prior felony conviction (i.e., a "strike"), as well as the allegations defendant had served two prior prison terms.
At the sentencing hearing, defendant moved to strike his prior robbery conviction on Boykin-Tahl grounds, claiming he had not, in the prior proceeding, been informed that by pleading guilty he was forfeiting his right to a jury trial, to confront and cross-examine witnesses and to be free of compelled self-incrimination. The prosecutor opposed the motion, arguing criminal defendants could no longer use the motion to strike procedure to collaterally attack the validity of a prior felony conviction on Boykin-Tahl grounds, citing Custis, supra,511 U.S. 485. The trial court agreed with the prosecutor, denied the motion and sentenced defendant to prison for a term of ten years, calculated as the middle term of four years for the drug crime, doubled to eight years for the prior strike, and two additional years for the two prior prison terms.
The case then began a winding journey through our appellate system. Defendant appealed, and the Court of Appeal affirmed, findingCustis, supra, 511 U.S. 485, had superseded Sumstine, supra,36 Cal.3d 909, eliminating *Page 428 
the motion to strike procedure as a method of raising a Boykin-Tahl
challenge to a prior conviction. Defendant sought a rehearing, citing the recently published Court of Appeal decision in Garcia
v. Superior Court, (Cal.App.), which found Custis was not controlling.1 The Court of Appeal granted rehearing and issued a new opinion, this time reversing the judgment and remanding to the trial court. We granted review and held the case for Garcia, which was then pending. (See Cal. Rules of Court, rule 29.2(c).)
We filed our opinion in Garcia, supra, 14 Cal.4th 953 on January 9, 1997, finding the rationale of Custis, supra,511 U.S. 485, was persuasive for motions to strike based on ineffective assistance of counsel. We thereafter transferred the instant case to the Court of Appeal for reconsideration in light of Garcia. That court filed an unpublished opinion and, relying on the rationale of Garcia and Custis, concluded criminal defendants were no longer authorized to move to strike, on Boykin-Tahl grounds, their prior felony convictions. Because other Courts of Appeal had reached a contrary conclusion, we again granted review.
 Discussion A. Background
Trial courts commonly rely on the existence of prior felony convictions to increase the sentences meted out to criminal defendants. (See, e.g., Pen. Code, §§ 667, subd. (a)(1) [five-year enhancement for prior serious felony conviction], 667.51 [five-year enhancement for prior sex crime if presently convicted of lewd acts with a child in violation of Pen. Code, §288], 667.6 [five-year enhancement for prior sex crime if presently convicted of enumerated sex crime], 667.71, subd. (b) [term of 25 years to life for habitual sex offenders].)
Most recently, both the electorate and our Legislature have decided to treat an offender's prior felony convictions as justifying a substantially increased prison term. Thus, under most circumstances, a single prior serious felony conviction will double the offender's sentence, and two prior serious felony convictions — the so-called "Three Strikes and You're Out" law — leads to a sentence of at least 25 years to life in prison. (Pen. Code, §§ 667, subd. (b)-(i), added by the Legis., eff. Mar. 7, 1994, 1170.12, added by initiative measure, approved Nov. 8, 1994.) In California, then, the allegation and proof of prior serious felony convictions have assumed a significant role in the calculation of a criminal offender's minimum term. *Page 429 
The United States Supreme Court has decided, however, that a trial court, when sentencing a criminal defendant, may not rely on a prior felony conviction obtained in violation of the defendant's constitutional rights. Thus, in Burgett v. Texas
(1967) 389 U.S. 109, the high court ruled a Texas state court unconstitutionally relied on a defendant's prior felony conviction to invoke that state's recidivist offender law, where the evidence of the prior conviction demonstrated neither that the defendant was represented by counsel in the earlier proceeding (see Gideon
v. Wainwright (1963) 372 U.S. 335 (Gideon)) nor that he had waived such assistance (Burgett v. Texas, supra, 389 U.S. at pp. 114-115; see also Johnson v. Mississippi (1988) 486 U.S. 578 [Eighth Amendment required reconsideration of death penalty imposed, in part, in reliance on a subsequently vacated prior felony conviction]). In short, if a state desires to rely on a defendant's prior felony conviction to enhance his or her sentence, the prior conviction must be constitutionally valid. (Garcia, supra, 14 Cal.4th at p. 959.)
To assure the constitutional validity of prior felony convictions used to enhance a criminal defendant's sentence for a current crime, this court long ago decided that the defendant was entitled to challenge such priors in a petition for a writ of habeas corpus. (In re Woods (1966) 64 Cal.2d 3; In re Luce (1966)64 Cal.2d 11.) If the defendant could establish the prior convictions were invalid, he was entitled to be resentenced.
A year later, we considered whether a defendant charged with a prior felony conviction was limited to proceeding, after final judgment, by way of habeas corpus, or could instead challenge the constitutional validity of the alleged prior conviction in his current trial. In People v. Coffey (1967)67 Cal.2d 204 (Coffey), the defendant was charged, inter alia, with having suffered a prior felony conviction in Oklahoma. He made a pretrial motion to dismiss the allegation, claiming that in the proceedings leading to the Oklahoma conviction he had been denied the right to legal counsel. This court held the trial court erred when it denied the motion to strike, explaining that "to the extent that statutory machinery relating to penal status or severity of sanction is activated by the presence of prior convictions, it is imperative that the constitutional basis of such convictions be examined if challenged by proper allegations." (Id. at pp. 214-215.) And the challenge, we held, need not be made in a separate proceeding, but may properly be made in the present proceeding by a pretrial motion to strike the prior conviction. Citing concerns of judicial economy, we noted that "it is clearly in the interest of efficient judicial administration *Page 430 
that attacks upon the constitutional basis of prior convictions be disposed of at the earliest possible opportunity, and we are therefore of the view that, if the issue is properly raised at or prior to trial, it must be determined by the trial court." (Id. at p. 215.)
In essence, Coffey authorized defendants to institute in their current trial a collateral attack on a prior felony conviction, which previously had been permissible only by filing a petition for a writ of habeas corpus. Our decision was not based on an interpretation of either the federal or state Constitution, but on this court's assessment of "efficient judicial administration." (See Garcia, supra, 14 Cal.4th at p. 963.) In today's parlance, we would characterize the rule as a judicially established rule of criminal procedure. (Id. at p. 964.)
The question later arose whether the Coffey motion to strike procedure was available to challenge an alleged prior felony conviction on constitutional grounds other than denial of counsel. We answered that question in the affirmative inSumstine, supra, 36 Cal.3d 909. In that case, the defendant moved to strike his prior felony conviction on grounds he had not been informed, before pleading guilty to the prior crime, of his right to a jury, to confront witnesses and to be free of compelled self-incrimination (Boykin, supra, 395 U.S. 238; Tahl, supra,1 Cal.3d 122), and that the record did not evidence his waiver of these rights. Respondent, represented by the Attorney General, argued the motion to strike procedure announced in Coffey, supra,67 Cal.2d 204, should be confined to claims of denial of counsel, "because of the peculiar importance of the Sixth Amendment right to counsel." (Sumstine, supra, at p. 918.)
We disagreed with the Attorney General's proposed narrow reading of Coffey and instead chose to interpret the decision more broadly, noting "our concern in Coffey that prior convictions obtained in violation of any of a defendant's constitutional rights not be used to enhance a prison sentence. . . ." (Sumstine, supra, 36 Cal.3d at pp. 918-919, italics added.) By way of example, we observed in a footnote that we had previously "permitted defendants to raise [claims of] inadequate assistance of counsel on a Coffey motion." (Sumstine, supra, at p. 919, fn. 6, citing People v. Coleman (1969) 71 Cal.2d 1159, 1169.) We thus concluded a defendant could raise a Boykin-Tahl claim in a motion to strike.
Six years after Sumstine, we held a capital defendant could use the Coffey motion to strike procedure to challenge a prior murder conviction, charged as a special circumstance (Pen. Code, § 190.2, subd. (a)(2)), on the grounds the defendant'sBoykin-Tahl rights had been infringed and his prior guilty plea *Page 431 
involuntary because he was intoxicated at the time of the plea. (Curl v. Superior Court (1990) 51 Cal.3d 1292, 1296 (Curl).)
History has shown that, at least in noncapital cases,Sumstine, supra, 36 Cal.3d 909, represented the high water mark in this area of motions to strike. Retreat from the notion that a criminal defendant may, in his current trial, challenge a prior felony conviction on "any" constitutional ground (id. at p. 918) began with the United States Supreme Court decision in Custis,supra, 511 U.S. 485. Custis involved a criminal prosecution under the federal Armed Career Criminal Act of 1984 (18 U.S.C. § 924(e) (ACCA)). For an offender thrice convicted previously of a violent or serious drug-related felony, the ACCA increased the penalty for possession of a firearm from a mandatory 10-year term to a minimum term of 15 years and a maximum term of life in prison without parole. The government alleged the defendant in Custis
came within the terms of the ACCA because he had suffered a 1985 conviction for robbery in Pennsylvania, and a 1985 conviction for burglary and a 1989 conviction for attempted burglary, both in Maryland.
The defendant in Custis argued his prior Maryland felony convictions were constitutionally invalid. Regarding his 1985 burglary conviction, he claimed he had received constitutionally ineffective assistance of counsel and that his plea was not knowing and intelligent as required by Boykin, supra,395 U.S. 238. Regarding his 1989 attempted burglary conviction, he similarly contended he had been provided ineffective assistance of counsel and, in addition, that he had had a "`stipulated facts'" trial that was tantamount to a guilty plea, but had not been given adequate warnings of the constitutional rights he forfeited thereby. (Cf. Bunnell v. Superior Court (1975) 13 Cal.3d 592.) The defendant argued the federal Constitution guaranteed him the right to challenge, in his present trial, the constitutional validity of his prior Maryland felony convictions. (Custis,supra, 511 U.S. at p. 493.)
The high court disagreed, explaining the federal Constitution did not guarantee a criminal defendant the right, in the present trial, to challenge a prior conviction on any ground other than denial of counsel, sometimes called a Gideon claim (Gideon, supra,372 U.S. 335). The high court reached this conclusion after considering three factors. First, denial of one's Sixth Amendment right to counsel is a "unique constitutional defect" (Custis, supra,511 U.S. at p. 496), which the court previously had recognized rises to the level of a "jurisdictional defect." (Ibid., citing Johnson v.Zerbst (1938) 304 U.S. 458.) *Page 432 
Second, in the court's view, "[e]ase of administration also support[ed] the distinction [between denial of the right to counsel and denial of other constitutional rights]." (Custis,supra, 511 U.S. at p. 496.) "[F]ailure to appoint counsel at all will generally appear from the judgment roll itself, or from an accompanying minute order. But determination of claims of ineffective assistance of counsel, and failure to assure that a guilty plea was voluntary, would require sentencing courts to rummage through frequently nonexistent or difficult to obtain state-court transcripts or records that may date from another era, and may come from any one of the 50 States." (Ibid.)
A third reason for the court's decision denying all butGideon challenges to alleged prior felony convictions was the government's interest in the finality of judgments. Such collateral challenges "`undermine confidence in the integrity of [Supreme Court] procedures'" (Custis, supra, 511 U.S. at p. 497, quoting United States v. Addonizio (1979) 442 U.S. 178, 184, fn. 11), especially in cases, such as in Custis, in which the defendant pleaded guilty to the crime in the prior proceeding. The high court expressly stated, however, that the defendant was free to return to state court and attempt to vacate the conviction in that forum. (Custis, supra, at p. 497; Garcia, supra,14 Cal. 4th at p. 962; see Nichols v. United States (1994)511 U.S. 738, 765 (dis. opn. of Ginsburg, J.) [the issue in Custis "waswhere, not whether, the defendant could attack a prior conviction for constitutional infirmity" (italics in original)].)
Custis led to a reexamination of California precedent on the subject. First, in People v. Horton (1995) 11 Cal.4th 1068, a capital case, we concluded that "Custis neither compels nor justifies a modification of existing California law governing a collateral attack, in a capital proceeding, upon a prior conviction that the prosecution has alleged as a special circumstance rendering the defendant eligible for the death penalty." (Id. at p. 1134, italics in original.) In reaffirmingCurl, supra, 51 Cal.3d 1292, we emphasized the prior conviction in Horton was alleged as a special circumstance making the defendant eligible for the death penalty, and that Custis "did not address the question of the appropriate scope of a collateral challenge in such a setting." (Horton, supra, at p. 1134.) In capital cases, we concluded, a collateral challenge to an alleged prior conviction "may not properly be confined to a claim ofGideon error [denial of counsel], but may be based upon at least some other types of fundamental constitutional flaws." (Id. at p. 1135, italics in original.) We cautioned, however, that we had, in Horton, "no occasion . . . to determine whether, or in what *Page 433 
respect, the policy considerations set forth by the majority inCustis should affect collateral attacks on prior convictions in a noncapital setting." (Id. at p. 1134.)
Although Horton thus reserved the question of Custis's applicability in the noncapital setting, we turned to that precise question little over a year later. In Garcia, supra, 14 Cal.4th 953, the defendant was charged with a drug-related crime and with having suffered two prior serious felony convictions for burglary. He made a pretrial motion to strike one of the prior burglary convictions, claiming his guilty plea in the previous case was induced by the ineffective assistance of his defense attorney. In his motion, the defendant contended he would not have entered the guilty plea had he received competent legal advice. (Id. at pp. 957-958.)
In resolving the defendant's claim in Garcia, we observed he was not raising a denial of counsel claim and thus was not entitled under the federal Constitution to use the motion to strike procedure (Custis, supra, 511 U.S. 485). We reached the same conclusion under the California Constitution, reasoning that no previous authority had relied on our state charter to authorize the motion to strike procedure, and that, in any event, the defendant failed to present a "`cogent reason'" for construing the state Constitution differently than its federal counterpart. (Garcia, supra, 14 Cal.4th at p. 963; see Raven v. Deukmejian (1990) 52 Cal.3d 336, 353.)
Having determined the absence of any state or federal constitutional entitlement to use the motion to strike procedure (aside from Gideon claims), we also declined to create a judicially established rule of criminal procedure to authorize motions to strike prior felony convictions based on ineffective assistance of counsel. (Garcia, supra, 14 Cal.4th at p. 964.) Our reasoning was twofold. First, although Sumstine had, in dictum, suggested the motion to strike procedure was also available for claims of ineffective assistance of counsel (Sumstine, supra, 36 Cal.3d at p. 919, fn. 6), we found theGarcia defendant's reliance on that dictum was unjustified: "[T]he court in Sumstine was not faced with a challenge to a prior conviction based upon the ground of ineffective assistance of counsel; thus the decision in Sumstine had no occasion to, and did not, determine specifically that a defendant properly could employ such a motion to strike to raise an ineffective-assistance-of-counsel claim." (Garcia, supra, at p. 964.)
Second, we observed that, in distinguishing denial of counsel claims from other constitutional claims, the Custis court found the ease of determining the merits of such a claim from the record of the prior proceeding was a *Page 434 
factor "[o]f particular relevance." (Garcia, supra,14 Cal.4th at p. 961.) Turning to the question of the administrative burden on the trial courts, we concluded "the effective administration of criminal justice would not be furthered, but rather would face serious disruption, if — in the course of the proceedings related to a current offense — the trial court were required to entertain and adjudicate an attack on the validity of a challenged prior conviction based upon a claim of ineffective assistance of counsel." (Id. at p. 964.) "Such a claim often will necessitate a factual investigation with regard to counsel's actions, omissions, and strategic decisions, requiring the parties and the court to reconstruct events possibly remote in time, and to scour potentially voluminous records, substantially delaying the proceedings related to the current offense." (Id. at p. 965.)
These concerns for "judicial efficiency" (Garcia, supra,14 Cal.4th at p. 966) and the "effective administration of criminal justice" (id. at p. 964) convinced us that creating a judicial rule of criminal procedure to permit criminal defendants to move to strike prior felony convictions due to alleged ineffective assistance of counsel in the prior proceedings was unwise. Accordingly, we concluded the trial court in Garcia
properly refused to entertain a motion to strike on that ground.2 We now turn to the issue in this case: can a noncapital criminal defendant, after Custis and Garcia, use the motion to strike procedure to challenge a prior felony conviction on the ground he was denied his Boykin-Tahl rights in the prior proceeding?
 B. Boykin-Tahl and Sumstine
In Boykin, supra, 395 U.S. 238, the defendant was charged in Alabama with five counts of robbery. Represented by court-appointed counsel, the defendant pleaded guilty and was sentenced to suffer the death penalty. The trial record was silent on the question of whether the defendant was aware of the constitutional rights he waived by pleading guilty. Although the state supreme court affirmed the conviction, the United States Supreme Court reversed; the court explained that to ensure the plea was made intelligently and voluntarily, the record must show the defendant was made aware of three constitutional rights he was waiving by pleading guilty: the right to a jury trial, the right to confront the witnesses against him and the right to be free from compelled self-incrimination. The high court held that an intelligent and voluntary waiver would not be presumed from a silent record. In *Page 435 Tahl, supra, 1 Cal.3d 122, this court explained that, in light ofBoykin, "each of the three rights mentioned self-incrimination, confrontation, and jury trial — must be specifically and expressly enumerated for the benefit of and waived by the accused prior to acceptance of his guilty plea." (Id. at p. 132.)
As explained, ante, Sumstine, supra, 36 Cal.3d 909, permits a criminal defendant to challenge the validity, in his present trial, of a prior felony conviction on Boykin-Tahl
grounds. Although to enhance a criminal defendant's sentence with a prior conviction that was itself obtained in violation of the Constitution is unconstitutional (Burgett v. Texas, supra,389 U.S. 109), it is not unconstitutional — with the exception of denial of counsel claims — to require a defendant to litigate the validity of the prior conviction in a separate proceeding, such as on habeas corpus. (Custis, supra, 511 U.S. at p. 497; Garcia,supra, 14 Cal.4th at p. 966.) Our decision in Sumstine thus was not based on constitutional imperatives, but on the policy judgment, first announced in Coffey, supra, 67 Cal.2d 204, that "it is clearly in the interest of efficient judicial administration
that attacks upon the constitutional basis of prior convictions be disposed of at the earliest possible opportunity, and we are therefore of the view that, if the issue is properly raised at or prior to trial, it must be determined by the trial court." (Id. at p. 215, italics added.) We not only reaffirmed that policy decision in Sumstine, supra, 36 Cal.3d at page 920, we again did so in Curl,supra, 51 Cal.3d at page 1302.
Sumstine directed trial courts to follow the following procedure: When a defendant makes sufficient allegations that his conviction, by plea, in the prior felony proceedings was obtained in violation of his constitutional Boykin-Tahl rights, the trial court must hold an evidentiary hearing. At the hearing, the prosecution bears the initial burden of producing evidence that the defendant did indeed suffer the conviction. The defendant must then produce evidence to demonstrate his Boykin-Tahl rights were infringed. The prosecution then has the right to rebuttal, at which point reliance on a silent record will not be sufficient. (Sumstine, supra, 36 Cal.3d at p. 923; see People v. Pride (1992)3 Cal.4th 195, 256 [evidence of trial judge's "`habit and custom'" of taking proper waivers relevant]; People v. Soto (1996)46 Cal.App.4th 1596, 1605-1607 [defendant's conclusory allegations insufficient to warrant a hearing]; People v. Johnson (1990)217 Cal.App.3d 978, 983 [defendant failed to produce evidence his constitutional rights were violated].) We explained the process in more detail in Curl, supra, 51 Cal.3d 1292. In that case, we emphasized that a Sumstine motion is a collateral attack on a presumptively final conviction. (Curl, supra, at p. 1303.) Accordingly, the People need only make "a prima facie showing of *Page 436 
the existence of the prior conviction" (id. at p. 1304, fn. 7), whereupon the burden shifts to the defendant, who bears the burden of proving the constitutional invalidity of the conviction (ibid.).3 In order to rely on the prior conviction in sentencing, of course, the People retain the burden of proving, beyond a reasonable doubt, that the defendant suffered the conviction. (Curl, supra, at p. 1304, fn. 7.)
The Attorney General argued in Sumstine that this procedure, requiring as it did the holding of an evidentiary hearing, would be "unnecessarily time-consuming" and that "`[t]o explore matters other than the easily determined fact of representation by, or waiver of, counsel could — and no doubt would require a lengthy recess of the trial in order to procure witnesses and other evidence with the resultant possibility of frequent declaration of mistrials.'" (Sumstine, supra, 36 Cal.3d at p. 919, fn. 6, quoting People v.Vienne (1973) 30 Cal.App.3d 266, 272.) We disagreed: "To prevent such lengthy interruptions we required courts to put on the record the questioning of the defendant concerning his Boykin/Tahl rights in order to preserve `a record adequate for any review that may be later sought.' (Boykin, supra, 395 U.S. at p. 244, italics added.) If a proper record existed, Boykin/Tahl claims could as easily be determined as right to counsel claims." (Sumstine, supra, at p. 919, fn. 6.) In short, we expressly considered in Sumstine the People's "ease of administration" argument and found it wanting.
Normally, principles of stare decisis would require we adhere to the rule in Sumstine, at least in the absence of persuasive evidence the policy judgment on which it is based has proved false as an empirical matter, or that post-Sumstine
authority from the United States Supreme Court or this court casts doubt on Sumstine's reasoning. (See, e.g., Moradi-Shalal v.Fireman's Fund Ins. Companies (1988) 46 Cal.3d 287, 296-297;People v. Anderson (1987) 43 Cal.3d 1104, 1138-1141.) Respondent does not argue that Sumstine motions have proven to be an undue burden on the trial courts in the ensuing 15 years. He does contend, however, that superseding legal authority justifies reevaluation of the policy bases of our Sumstine decision. He relies primarily on People v. Howard (1992) 1 Cal.4th 1132
(Howard). As we explain, respondent's reliance on Howard is misplaced. *Page 437 
 C. Howard Is Not Dispositive
In the period immediately following the decisions inBoykin and Tahl, compliance with the rule of those cases required the trial record expressly to demonstrate (i) the defendant who was pleading guilty had been warned of the three specific constitutional rights he was foregoing, and (ii) that he had waived those rights. We expanded the reach of this rule, applying it to admissions of prior felony convictions alleged as enhancements for sentencing purposes (In re Yurko (1974) 10 Cal.3d 857
(Yurko)), guilty pleas in misdemeanor cases (Mills v.Municipal Court (1973) 10 Cal.3d 288), submissions on preliminary examination transcripts that were tantamount to guilty pleas (People v. Levey (1973) 8 Cal.3d 648) and, with the exception of warnings regarding the right to a jury trial, admissions under the juvenile court law (In re Ronald E., supra, 19 Cal.3d 315). In addition, during the post-Boykin-Tahl period, we treated the failure to comply with a defendant's Boykin-Tahl rights as requiring automatic reversal of the defendant's conviction. (SeeIn re Ibarra (1983) 34 Cal.3d 277, 283, fn. 1; People v. Wright
(1987) 43 Cal.3d 487, 493-494 [slow plea tantamount to a guilty plea].)
In 1992, however, we reevaluated the rule of automatic reversal. In Howard, supra, 1 Cal.4th 1132, the trial court failed to take Boykin-Tahl waivers before accepting the defendant's admission of the truth of a prior felony conviction allegation, thus committing what is known as Yurko error (Yurko,supra, 10 Cal.3d at p. 863). We observed in Howard that, although this court had interpreted federal law to find a trial court's failure to place Boykin-Tahl waivers on the record required reversal without an inquiry into prejudice, "[i]n the 22 years since Tahl, our interpretation of federal law in that opinion has not garnered significant support in the federal courts. Indeed, the high court has never read Boykin as requiring explicit admonitions on each of the three constitutional rights. Instead, the court has said that the standard for determining the validity of a guilty plea `was and remains whether the plea represents a voluntary and intelligent choice among alternative courses of action open to the defendant.'" (Howard, supra, at p. 1177, quoting North Carolina v. Alford (1970) 400 U.S. 25, 31.) "`The new element added in Boykin' was not a requirement of explicit admonitions and waivers but rather `the requirement that the record must affirmatively disclose that a defendant who pleaded guilty entered his plea understandingly and voluntarily.'" (Howard, supra, at p. 1177, quoting Brady v. United States
(1970) 397 U.S. 742, 747-748, fn. 4.) We noted that the *Page 438 
vast majority of the federal circuit courts had reached the same conclusion. (See, e.g., United States v. Pricepaul (9th Cir. 1976) 540 F.2d 417, 424-425.)
We thus concluded in Howard, supra,1 Cal.4th at page 1178 that the Boykin-Tahl rule merely requires that "[t]he record must affirmatively demonstrate that the plea [that is, the admission of a prior conviction] was voluntary and intelligentunder the totality of the circumstances." (Italics added.) Examining the record in Howard (the trial court's colloquy with defendant and his counsel), we concluded the defendant knew he had the right not to admit the prior felony conviction and, thus, not incriminate himself. After considering the totality of the circumstances, we held that despite the absence of explicit on-the-record waivers, the defendant's admission of the prior conviction was voluntary and intelligent. (Id. at p. 1180.) Accordingly, we found the Yurko error was harmless.
Respondent suggests that, after Howard, the scope of the evidentiary hearing authorized by Sumstine has been greatly expanded, requiring the trial court to engage in a wide-ranging and fact-intensive inquiry into the totality of the circumstances of a prior plea. This change, respondent argues, requires we reevaluate the policy basis of Sumstine. This argument is based on a fundamental misunderstanding of Howard, which addressed the standard of review for Yurko error on direct appeal.
Both before and after Howard, an appellate court, faced with a claim of Yurko error, was limited to an examination of the trial record. Before Howard, however, if a criminal defendant raised a claim of Yurko error on direct appeal, the appellate court was required to examine only the transcript of the hearing in which the trial court accepted the admission to determine if the proper admonitions and waivers appeared on the face of the record. If they did not, appellate courts generally declared the admission of the prior convictions automatically invalid. (See, e.g., People v. Ray (1990) 220 Cal.App.3d 943, 945-950; but seeHoward, supra, 1 Cal.4th at p. 1175 fn. 17, and cases cited [explaining the "apparent uncertainty" in the intermediate appellate courts over the applicable standard of review for Yurko
error].)
After Howard, for an appellate court simply to determine the defendant had not been expressly told of his rights, nor expressly waived them was no longer sufficient. If the record failed to disclose proper advisements and waivers, the appellate court was required to determine further, based on the totality of the circumstances, whether the defendant's admission in any event was voluntarily and intelligently made. This determination required the appellate court to examine the entire proceeding. (See, e.g., People v. Torres *Page 439 
(1996) 43 Cal.App.4th 1073, 1079-1082 [totality of circumstances shows admission of prior convictions not voluntary or intelligent];People v. Murillo (1995) 39 Cal.App.4th 1298, 1303-1304 [record establishes knowing and voluntary waiver of constitutional rights];People v. Moore (1992) 8 Cal.App.4th 411, 416-418 [silent record precluded conclusion waiver was voluntary and intelligent].)4 As in all appeals, however, this determination was limited to the trial record.
By contrast, a Sumstine motion, that is, a motion in the trial court to strike a prior conviction on Boykin-Tahl grounds, poses a fundamentally different situation. A Sumstine motion is acollateral attack on a prior conviction that, before Coffey,supra, 67 Cal.2d 204, would have been raised in a separate proceeding by filing a petition for a writ of habeas corpus. The motivation animating our decision in Coffey, and then Sumstine, was one of judicial efficiency: if the defendant would in any event be able to challenge the validity of the prior conviction, it was more efficient to accelerate that determination to the current trial, rather than relegate it to a later habeas corpus proceeding after final judgment. Nothing in Howard undermines that initial policy decision.
That the situation addressed in Howard is distinct from that in Sumstine is illustrated by the different procedures applicable to each. Howard involved review on direct appeal, where the appellate court is restricted to an examination of the trial record. By contrast, when responding to a Sumstine motion, the trial court is specifically required to hold a hearing and take evidence on the voluntariness of the prior plea. Neither the defendant nor the prosecutor is limited to the face of the record in the prior proceeding, but may offer any evidence germane to the defendant's contention he was unaware of his rights when he pleaded in the prior proceeding. Indeed, the Sumstine procedure already incorporates the totality-of-the-circumstances approach outlined in Howard. Thus, in litigating a motion to strike, "it is not enough for [the defendant] to allege that the record of his prior conviction is silent regarding [his Boykin-Tahl] rights. Hemust affirmatively allege that at the time of his prior convictionhe did not know of, or did not intelligently waive, such rights. And this does not end the matter: once such an allegation is made, the court must hold an evidentiary hearing . . . to determine the truth of the allegation." (Sumstine, supra,36 Cal. 3d at p. 914, italics added.) *Page 440 
Establishing the truth or falsity of the allegation in the evidentiary hearing, of course, will require the presentation of evidence outside the record. Thus, Sumstine anticipates that, in hearing a motion to strike, the trial court will examine the totality of the circumstances to determine the voluntariness and intelligence of the plea, much as the court would do if it were presiding over a hearing held in response to a petition for a writ of habeas corpus. Howard's rule of appellate review thus is indistinguishable from the review applied in motion hearings held pursuant to Sumstine.5
In sum, Howard, supra, 1 Cal.4th 1132, involves the proper standard of review on direct appeal and does not address collateral challenges to prior felony conviction allegations. Moreover, Howard does not change the nature of the hearing required by Sumstine, supra, 36 Cal.3d 909. Finally, Howard does not call into question the basic policy determination made inCoffey, supra, 67 Cal.2d 204, and Sumstine, that it is more efficient to accelerate collateral attacks on prior convictions to hear them in the trial proper than to wait for a later challenge on habeas corpus. For these reasons, we reject respondent's contention that Howard requires we abandon Sumstine.
 D. Ease of Administration
The question remains whether, after Custis, supra, 511 U.S. 485 andGarcia, supra, 14 Cal.4th 953, our decision in Sumstine recognizing a judicially declared rule of criminal procedure permitting the motion to strike procedure for Boykin-Tahl grounds is still sound. BothCustis and Garcia identify the ease of administration of the motion to strike procedure as a key factor in deciding whether to permit a defendant to mount, in his current trial, a collateral attack on a prior felony conviction. (Custis, supra, at p. 496; Garcia,supra, at p. 964.) Thus, referring to a Gideon claim, the high court explained that determining whether counsel had been appointed in the prior proceeding was a simple matter of checking the judgment roll or the appropriate minute order. (Custis,supra, at p. 496.) The ease with which the validity of a Gideon
claim could be determined strongly supported the Custis court's conclusion that the federal Constitution authorized the motion to strike procedure for denial of counsel claims, but no others.
Garcia is a good example of the same legal analysis yielding different results when applied to a different factual situation. In that case, the defendant sought to strike an alleged prior felony conviction, claiming he had *Page 441 
received constitutionally ineffective assistance of counsel in the prior proceeding. We explained that "[s]uch a claim will often necessitate a factual investigation with regard to counsel's actions, omissions, and strategic decisions, requiring the parties and the court to reconstruct events possibly remote in time, and to scour potentially voluminous records, substantially delayingthe proceedings related to the current offense. Conductingevidentiary hearings on these types of claims also would protractsubstantially the proceedings on the current offense." (Garcia,supra, 14 Cal.4th at p. 965, italics added.) Accordingly, the difficulty in proving such a claim, and the concomitant delay that would result in the current trial, convinced us that a criminal defendant should not be permitted to use the motion to strike procedure to litigate, in his current trial, ineffective assistance of counsel claims going to prior convictions. (Id. at pp. 965-966)
Neither the discussion on the ease of administering the motion to strike procedure in Custis nor that in Garcia undermines our basic reasoning in Sumstine. Although a hearing on whether a defendant was given adequate Boykin-Tahl admonitions and waivers and whether the defendant was actually aware of his rights when he pleaded may, in some cases, involve a full-blown trial of contested facts, we reasoned in Sumstine that such wide-ranging inquiries should largely be avoided by the rule that Boykin-Tahl
waivers be placed on the record to facilitate future review. (Sumstine, supra, 36 Cal.3d at p. 919, fn. 6.) We reiterated that rule in Howard itself, noting "the essential wisdom of explicit waivers remains beyond question" and emphasizing "that explicit admonitions and waivers are still required in this state." (Howard, supra, 1 Cal.4th at p. 1179.)
That the primary evidence of a Boykin-Tahl violation will usually appear on the face of the record distinguishes challenges on Boykin-Tahl grounds from claims of ineffective assistance of counsel, at issue in Garcia. Evidence of the latter type of claim will most often be outside the trial record, as the trial court would be required to determine such issues as the reasons for prior trial counsel's tactics or omissions, what counsel should have done to secure a more favorable result, whether such additional actions would actually have had the desired result, and whether counsel acted unreasonably or as a less than diligent advocate for his or her client. In short, litigation of such claims will, in most cases, entail a degree of delay we found unacceptable in Garcia. (See Garcia, supra,14 Cal. 4th at p. 965; see also People v. Mendoza Tello (1997)15 Cal.4th 264, 266-267 [ineffective assistance of counsel claims "more appropriately decided in a habeas corpus proceeding"].)
In Sumstine we reasoned the same would not be true forBoykin-Tahl claims, and respondent points to no evidence showing this prediction has *Page 442 
proven unfounded. We assume this is because the determination of whether a defendant understood the constitutional rights he or she was waiving by pleading guilty is a much simpler task than determining whether prior counsel provided ineffective legal representation. After Tahl, supra, 1 Cal.3d 122, we have followed a rule in this state requiring a pleading defendant be told on the record that he is waiving the rights to a jury, to confront the witnesses against him and the freedom from compelled self-incrimination. For post-Tahl
guilty pleas, then, the record of the hearing in which the trial court accepted the defendant's plea should clearly demonstrate the defendant was told of his rights and that he affirmatively waived them. Thus, permitting defendants to raise a Boykin-Tahl claim in a motion to strike at trial would entail little disruption; a quick review of the transcript of the sentencing hearing may be all that is necessary.
For those cases in which the record fails to show the defendant was told of his rights or that he affirmatively waived them, before the trial court accepted the plea, a concern arises the plea may be constitutionally invalid. In those unusual cases,Sumstine holds that defendants need not wait to raise the claim in a separate habeas corpus proceeding, but may immediately move to strike the prior conviction.
The validity of a criminal defendant's claim he or she was denied counsel in a prior proceeding admittedly is easier to determine from the face of the trial record than the validity of aBoykin-Tahl claim. Nevertheless, we understand the high court's decision in Custis, supra, 511 U.S. 485, to set the floor for federal constitutional purposes, not to prohibit states from establishing rules of procedure to facilitate the smooth and efficient operation of their trial courts. Indeed, Custis itself identified instances in which Congress has, by statute, specifically permitted a defendant to challenge the constitutionality of a predicate felony in his current trial. (Custis, supra, at p. 493, citing 18 U.S.C. § 3575(e), "note following ch. 227" [dangerous special offender law]; 21 U.S.C. § 851(c)(2) [recidivist under Comprehensive Drug Abuse Prevention and Control Act of 1970].) This court itself has authorized the motion to strike procedure in cases not involving claims of denial of counsel. (Curl, supra,51 Cal.3d 1292; People v. Horton, supra, 11 Cal.4th at p. 1135.) Clearly, Custis did not intend to limit to Gideon claims all collateral challenges in the trial court.
 E. Sumstine is Limited to Post-Tahl Prior Convictions
Our expectation that evidence pertinent to the concerns addressed in Boykin, supra, 395 U.S. 238, and Tahl, supra,1 Cal.3d 122, will appear on the face of the record presupposes that the prior guilty plea was accepted *Page 443 
after we decided Tahl on November 7, 1969. It is only in post-Tahl cases that trial courts were on notice that "the record must contain on its face direct evidence that the accused was aware, or made aware, of his right to confrontation, to a jury trial, and against self-incrimination, as well as the nature of the charge and the consequences of his plea." (Tahl,supra, 1 Cal.3d at p. 132, italics added.)
For pre-Tahl guilty pleas, we cannot expect the record clearly or succinctly to demonstrate whether or not the defendant was aware of his constitutional rights before pleading. For such cases, the determination of the voluntariness of the defendant's plea, untethered to anything in the existing record, would be an onerous task requiring resort to much evidence outside the trial record. The disruption of the trial caused by having to determine the voluntariness of a pre-Tahl guilty plea would be similar to that caused by having to determine whether prior counsel was constitutionally ineffective. As in Garcia, supra, 14 Cal.4th 953, we find that permitting defendants to raise challenges to pre-Tahl prior convictions will be judicially inefficient and will saddle the trial courts with an unreasonable burden. Accordingly, we conclude that motions to strike prior felony convictions onBoykin-Tahl grounds are limited to post-Tahl guilty pleas. Moreover, as we find this limitation was implicit in Sumstine,supra, 36 Cal.3d 909, there is no problem applying this limitation to the present case.6
The record indicates that defendant was charged in count one of the information with having suffered a prior robbery conviction "on or about the 28th day of January, 1969 in the Superior Court of the [S]tate of California, for the [C]ounty of Los Angeles, Case Number A241447." At defendant's request, we take judicial notice of a page from the Los Angeles County Superior Court Registrar of Actions showing defendant withdrew his plea of not guilty and pleaded guilty on June 19, 1969. We filed our opinion in Tahl, supra, 1 Cal.3d 122, on November 7, 1969. Because defendant entered his guilty plea in the prior case a few months before we decided Tahl, he was not entitled to collaterally attack the voluntariness of that plea by moving to strike the conviction in the trial court. We conclude that, although the trial court erred by relying on Custis, supra, 511 U.S. 485, to reject defendant's motion to strike, the court nevertheless correctly denied the motion.7 *Page 444 
 Conclusion
The judgment of the Court of Appeal is affirmed.
We concur:
 GEORGE, C.J. MOSK, J. KENNARD, J.
1 This court later granted review in Garcia v. SuperiorCourt, necessarily superseding the appellate opinion. (Cal. Rules of Court, rule 976(d).) Our opinion is published at Garcia v.Superior Court (1997) 14 Cal.4th 953 (Garcia).
2 Upon reaching this conclusion, we overruled People v.Coleman, supra, 71 Cal.2d 1159, to the extent it held the motion to strike procedure was available in noncapital cases to challenge the validity of prior convictions on ineffective assistance of counsel grounds. (Garcia, supra, 14 Cal.4th at pp. 960-961, fn. 4, 966, fn. 6.) We also disapproved two Court of Appeal opinions that had reached the same conclusion as Coleman. (Garcia, supra, at p. 966, fn. 6.)
3 Even if the defendant can prove he did not waive his constitutional rights before pleading guilty, he must also plead and prove he was actually unaware of his rights, and that he would not have pleaded guilty had he known his rights. (People v.Tassell (1984) 36 Cal.3d 77, 92, overruled on another ground,People v. Ewoldt (1994) 7 Cal.4th 380, 386-387; In re Ronald E. (1977) 19 Cal.3d 315, 325, fn. 8; People v. Cooper (1992)7 Cal.App.4th 593, 596-601.)
4 Although we have not directly held the Howard
totality-of-the-circumstances test would apply on direct appeal from a guilty plea to a substantive offense, our subsequent cases seem to have assumed it. (See People v. Ernst (1994) 8 Cal.4th 441, 446;People v. Adams (1993) 6 Cal.4th 570, 576, fn. 5; People v. Wash
(1993) 6 Cal.4th 215, 268-269 [capital case].)]
5 Although Howard, supra, 1 Cal.4th 1132, made a significant change in the law with regard to direct challenges to the validity of admission of prior felony conviction enhancement allegations, a collateral attack via a motion to strike has always required a showing of prejudice. (People v. Hayes (1990) 52 Cal.3d 577, 637;People v. Harty (1985) 173 Cal.App.3d 493, 502-503.)
6 This determination makes it unnecessary to address the issue, raised by defendant, that overruling Sumstine and applying that rule to him would violate his constitutional rights under the ex post facto and due process clauses of the federal Constitution.
7 We need not decide at this time whether the Sumstine
motion to strike procedure is available to challenge prior convictions in which the accused pleaded guilty in a jurisdiction other than California. There being no out-of-state prior felony conviction in this case, we leave that question for another day. For the same reason, we express no opinion on the various other ways in which the author of the concurring opinion would limit the reach of Sumstine.
 CONCURRING OPINION BY BAXTER, J.